                                    Case 18-12795-KG                         Doc 1          Filed 12/12/18                 Page 1 of 27
 
Fill in this information to identify the case

United States Bankruptcy Court for the:

                           District of   Delaware
                                         (State)
Case number (If known):                                       Chapter 11

                                                                                                                                                    ☐ Check if this is
                                                                                                                                                    an amended filing

    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  04/16
    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
    known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


    1.   Debtor’s name                             Catalina Marketing Corporation

 
    2.   All other names debtor used               Catalina Marketing Manufacturer Services, Inc.;  Catalina Marketing International, Inc.;
         in the last 8 years                       Catalina Marketing Sales Corporation, Inc.; Catalina Marketing (Delaware) Corporation
         Include any assumed names, trade
         names, and doing business as
         names


 
    3.   Debtor’s federal Employer
         Identification Number (EIN)               XX-XXXXXXX

 
    4.   Debtor’s       Principal place of business                                                        Mailing address, if different from principal place of business
         address
                        200                        Carillon Parkway
                        Number                     Street                                                  Number                      Street



                                                                                                           P.O. Box


                        St. Petersburg             Florida            33716
                        City                       State              ZIP Code                             City                        State           ZIP Code

                                                                                                           Location of principal assets, if different from principal place
                                                                                                           of business
                        Pinellas County
                        County
                                                                                                           Number                      Street




                                                                                                           City                        State           ZIP Code



    5.   Debtor’s website (URL)                    www.catalina.com

 
    6.   Type of debtor                            ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   ☐ Partnership (excluding LLP)
                                                   ☐ Other. Specify:



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                 Catalina Marketing Corporation                           Doc 1        Filed 12/12/18     Page
                                                                                                   Case number       2 of 27
                                                                                                               (if known)
                 Name
 
                                               A. Check one:
    7.   Describe debtor’s business
                                               ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒   None of the above


                                               B. Check all that apply:
                                               ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   5418 Advertising, Public Relations, and Related Services
                                            
                                               Check one:
    8.   Under which chapter of the
         Bankruptcy Code is the                ☐ Chapter 7
         debtor filing?                        ☐ Chapter 9
                                               ☒ Chapter 11. Check all that apply:
                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                  on 4/01/19 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return or
                                                                  if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                  1116(1)(B).
                                                                ☒ A plan is being filed with this petition.
                                                                ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                  Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                  with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                               ☐ Chapter 12
 
    9.   Were prior bankruptcy cases           ☒ No
         filed by or against the debtor
                                               ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
         separate list.
                                                            District                       When                          Case number

                                                                                                         MM / DD/ YYYY
                                            
    10. Are any bankruptcy cases               ☐ No
        pending or being filed by a
        business partner or an                 ☒ Yes        Debtor         See Schedule 1                                Relationship   See Schedule 1
        affiliate of the debtor?                            District       See Schedule 1                                When           See Schedule 1
         List all cases. If more than 1,
                                                            Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.

                                            

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                                                                                                     Case number       3 of 27
                                                                                                                 (if known)
                Name
 
     11. Why is the case filed in this       Check all that apply:
         district?
                                             ☒      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             ☒      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                              

    12. Does the debtor own or have
                                             ☒ No
        possession of any real
        property or personal property        ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
        attention?                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                health or safety.
                                                                What is the hazard?
                                                           ☐    It needs to be physically secured or protected from the weather.
                                                           ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                securities-related assets or other options).

                                                           ☐ Other
 
                                                         Where is the property?
                                                                                            Number                 Street


                                                                                            City                              State               ZIP Code
                                                         Is the property insured?
                                                                                             ☐ No
                                                                                            ☐ Yes. Insurance agency
                                                                                                       Contact Name
                                                                                                       Phone




                Statistical and administrative information 



     13. Debtor’s estimation of          Check one:
         available funds                 ☒       Funds will be available for distribution to unsecured creditors.
                                         ☐       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

     14. Estimated number of             
                                         ☐       1-49                                      ☒       1,000-5,000                        ☐   25,001-50,000
         creditors                       ☐       50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis)       ☐       100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                         ☐       200-999

     15. Estimated assets                ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                           ☐       $50,000,001-$100 million
                                         ☐       $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                           ☐       $100,000,001-$500 million

     16. Estimated liabilities           ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                           ☐       $50,000,001-$100 million
                                         ☐       $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                           ☐       $100,000,001-$500 million


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                                                                                               Case number       4 of 27
                                                                                                           (if known)
                 Name
 
                 Request for Relief, Declaration, and Signatures 


    WARNING   Bankruptcy fraud is a serious crime.  Making a false statement in connection with a bankruptcy case can result in fines up to 
               $500,000 or imprisonment for up to 20 years, or both.  18 U.S.C. §§ 152, 1341, 1519, and 3571. 
 
         17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
             authorized representative of         this petition.
             debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is
                                                  true and correct.
                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                      Executed on       December 12, 2018
                                                                           MM/ DD /YYYY

                                                                                                                  

                                                       /s/ Shelly Schaffer                                          Shelly Schaffer
                                                       Signature of authorized representative of                    Printed name
                                                        debtor 

                                                       Executive Vice President & Chief Financial Officer 
                                                       Title                                                         
                                                                 

 

         18. Signature of attorney                 /s/ Mark D. Collins                                              Date   December 12, 2018
                                                  Signature of attorney for debtor                                        MM / DD / YYYY

                                                  Mark D. Collins                                                  Gary T. Holtzer
                                                    Printed Name
                                           
                                                  Richards, Layton & Finger, P.A.                                  Weil, Gotshal & Manges LLP
                                                    Firm Name
                                           
                                                  One Rodney Square, 920 North King Street                         767 Fifth Avenue
                                                    Number              Street
                                           
                                                  Wilmington, Delaware 19801                                       New York, New York 10153
                                                    City / State / ZIP Code
                                           

                                                  (302) 651-7700                                                   (212) 310-8000
                                                    Contact phone
                                           

                                                  collins@rlf.com                                                  gary.holtzer@weil.com
                                                    Email address
                                           

                                                  2981                   Delaware
                                                    Bar Number             State
                                           
 

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                                                    Schedule 1

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware (the “Court”). A
motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure.

                       COMPANY                       CASE NUMBER           DATE FILED      DISTRICT
    Checkout Holding Corp.                            18-________( )   December 12, 2018   Delaware
    Catalina Marketing Corporation                    18-________( )   December 12, 2018   Delaware
    Catalina Marketing Procurement, LLC               18-________( )   December 12, 2018   Delaware
    Catalina Marketing Technology Solutions, Inc.     18-________( )   December 12, 2018   Delaware
    Catalina Marketing Worldwide, LLC                 18-________( )   December 12, 2018   Delaware
    Cellfire Inc.                                     18-________( )   December 12, 2018   Delaware
    Modiv Media, Inc.                                 18-________( )   December 12, 2018   Delaware
    PDM Group Holdings Corporation                    18-________( )   December 12, 2018   Delaware
    PDM Holdings Corporation                          18-________( )   December 12, 2018   Delaware
    PDM Intermediate Holdings A Corporation           18-________( )   December 12, 2018   Delaware
    PDM Intermediate Holdings B Corporation           18-________( )   December 12, 2018   Delaware




                                                    Schedule 1
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                          UNANIMOUS WRITTEN CONSENT OF
                            THE BOARD OF DIRECTORS OF
                         CATALINA MARKETING CORPORATION

                The undersigned, being all of the members of the Board of Directors (the “Board”)
of Catalina Marketing Corporation, a Delaware corporation, (the “Company”), pursuant to
Section 141(f) of the General Corporation Law of the State of Delaware, hereby consent to,
authorize, approve, ratify and confirm the following resolutions and actions described herein with
respect to the Company by written consent, as of this eleventh day of December, 2018, which shall
have the same force and effect, for all purposes, as if such actions had been taken and adopted at
a formal meeting:

               WHEREAS, the Board has reviewed and had the opportunity to ask questions
about the materials presented by management and the legal and financial advisors of the Company
regarding the liabilities and liquidity of the Company, the strategic alternatives available to them
and the impact of the foregoing on the Company’s business;

                WHEREAS, the Board has had the opportunity to consult with the management
and the legal and financial advisors of the Company to fully consider, and have considered, the
strategic alternatives available to the Company; and

               WHEREAS, the Board desires to approve the following resolutions.

I.     Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after
consultation with the management and the legal and financial advisors of the Company, that it is
desirable and in the best interests of the Company, its creditors, and other parties in interest that a
petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”); and be it further

                 RESOLVED, that any officer of the Company (each, an “Authorized Officer”) in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, to negotiate, execute, deliver, and file in the name and on behalf of
the Company, and under its seal or otherwise, all plans, petitions, schedules, statements, motions,
lists, applications, pleadings, papers, affidavits, declarations, orders, and other documents in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in
connection therewith, to take and perform any and all further acts and deeds which such Authorized
Officer deems necessary, proper, or desirable in connection with the Company’s chapter 11 case
(each, a “Chapter 11 Case”), including, without limitation, (i) the payment of fees, expenses, and
taxes such Authorized Officer deems necessary, appropriate, or desirable, and (ii) negotiating,
executing, delivering, performing and filing any and all additional documents, schedules,
statements, lists, papers, agreements, certificates, and/or instruments (or any amendments or
modifications thereto) in connection with, or in furtherance of, the Chapter 11 Case with a view to
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the successful prosecution of the Chapter 11 Case (such acts to be conclusive evidence that such
Authorized Officer deemed the same to meet such standard); and be it further

II.    Restructuring Support Agreement; Plan and Disclosure Statement

               RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests
of the Company to enter into a Restructuring Support Agreement (the “Restructuring Support
Agreement”) on terms and conditions substantially similar to those set forth in the form of
Restructuring Support Agreement previously provided to the Board; and be it further

              RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests
of the Company to file with the Bankruptcy Court a plan of reorganization (the “Plan”) and the
corresponding disclosure statement (the “Disclosure Statement”), in each case, on terms and
conditions substantially similar to those set forth in the form of Plan and Disclosure Statement
previously provided to the Board; and be it further

               RESOLVED, that the form, terms and provisions of the Restructuring Support
Agreement, and all the exhibits annexed thereto and the execution, delivery and performance
thereof and the consummation of the transactions contemplated thereunder by the Company are
hereby authorized, approved and declared advisable and in the best interests of the Company, with
such changes therein and additions thereto as any Authorized Officer of the Company, who may
act without the joinder of any other Authorized Officer, executing the same may in such
Authorized Officer’s discretion deem necessary or appropriate, it being acknowledged that the
execution of the Restructuring Support Agreement and such other documents, agreements,
instruments and certificates as may be required or contemplated by the Restructuring Support
Agreement, as applicable, shall be conclusive evidence of the approval thereof; and be it further

                RESOLVED, that the form, terms and provisions of the Plan and Disclosure
Statement and all the exhibits annexed thereto and the execution, delivery and performance thereof
and the consummation of the transactions contemplated thereunder by the Company are hereby
authorized, approved and declared advisable and in the best interests of the Company, with such
changes therein and additions thereto as any Authorized Officer of the Company, who may act
without the joinder of any other Authorized Officer, executing the same may in such Authorized
Officer’s discretion deem necessary or appropriate, it being acknowledged that the execution of
the Plan and Disclosure Statement and such other documents, agreements, instruments and
certificates as may be required or contemplated by the Plan and Disclosure Statement, shall be
conclusive evidence of the approval thereof; and be it further

               RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to cause the Company to enter into, execute, deliver, certify, file and/or record, and
perform the obligations arising under, the Restructuring Support Agreement, the Plan and
Disclosure Statement, substantially in the forms previously presented to the Board, together with
such other documents, agreements, instruments and certificates as may be required by the
Restructuring Support Agreement, including the Plan and Disclosure Statement; and be it further
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              RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the Restructuring Support
Agreement, Plan and Disclosure Statement and/or any of the related documents which shall, in
such Authorized Officer’s sole judgment, be necessary, proper or advisable; and be it further

III.   Debtor-in-Possession Financing

                 RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests
of the Company to guarantee the obligations of Checkout Holding Corp., a Delaware corporation
(the “DIP Facility Borrower”) under the DIP Credit Agreement (as defined below), and to
consummate the transactions under that certain senior secured super priority debtor-in-possession
term loan credit facility in an aggregate principal amount of up to $275,000,000 consisting of two
tranches: (i) a $125,000,000 multiple draw senior secured term loan facility and (ii) a $150,000,000
tranche of term loans to be evidenced by that certain Senior Secured Super Priority Debtor-In-
Possession Credit Agreement, by and among, the DIP Facility Borrower and the other guarantors
(the “Guarantors”), the lenders from time to time party thereto (the “Lenders”), and
JPMORGAN CHASE BANK, N.A., as administrative agent for the Lenders (in such capacity and
together with its successors, the “Administrative Agent”) (together with the Exhibits and
Schedules annexed thereto, the “DIP Credit Agreement”; capitalized terms used in this section
with respect to debtor-in-possession financing and not otherwise defined herein shall have the
meanings ascribed to such terms in the DIP Credit Agreement) in each case subject to approval by
the Bankruptcy Court, which is necessary and appropriate to the conduct of the business of the
Company (the “Debtor-in-Possession Financing”); and be it further

                RESOLVED, that the execution and delivery of the DIP Credit Agreement and any
DIP Financing Documents (as defined below) to which the Company is a party, the consummation
by the Company of the transactions contemplated thereunder, including the guaranty of the
obligations thereunder as provided in any guaranty, the grant of a security interest in and liens
upon substantially all of the Company’s assets in favor of the secured parties (including the
authorization of financing statements in connection with liens) and the execution, delivery and
performance of all other agreements, instruments, documents, notices or certificates constituting
exhibits to the DIP Credit Agreement or that may be required, necessary, appropriate, desirable or
advisable to be executed or delivered pursuant to the DIP Credit Agreement or otherwise related
thereto (each a “DIP Financing Document” and collectively, the “DIP Financing Documents”),
the making of the representations and warranties and compliance with the covenants thereunder
and the assumption of any obligations under and in respect of any of the foregoing, are hereby
authorized and approved in all respects, and that any Authorized Officer, who may act without the
joinder of any other Authorized Officer, is hereby severally authorized, empowered and directed,
in the name and on behalf of the Company, to execute and deliver the DIP Credit Agreement and
any other DIP Financing Document to which the Company is a party, with such changes therein
and additions thereto as any such Authorized Officer, in his or her sole discretion, may deem
necessary, convenient, appropriate, advisable or desirable, the execution and delivery of the Dip
Credit Agreement and such DIP Financing Document with any changes thereto by the relevant
Authorized Officer, to be conclusive evidence that such Authorized Officer deemed such changes
to meet such standard; and be it further
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                RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit
Agreement, including the use of proceeds to provide liquidity for the Company throughout the
Chapter 11 Case, substantially in the form presented to the Board and (ii) any and all of the other
agreements, including, without limitation, any guarantee and security agreement, letters, notices,
certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
and/or filed in connection with the Debtor-in-Possession Financing and the performance of
obligations thereunder, including the guarantees contemplated thereunder, are hereby, in all
respects confirmed, ratified and approved; and be it further

               RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to cause the Company to negotiate and approve the terms, provisions of and
performance of, and to prepare, execute and deliver the DIP Credit Agreement and any other DIP
Financing Document, in the name and on behalf of the Company under its corporate seal or
otherwise, and such other documents, agreements, instruments and certificates as may be required
by the Administrative Agent or required by the DIP Credit Agreement and any other DIP Financing
Documents; and be it further

                RESOLVED, that the Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the DIP Credit
Agreement and any other DIP Financing Document including the granting of security thereunder;
and be it further

               RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to grant security interests in, and liens on, any and all property (including other real
property) of the Company as collateral pursuant to the DIP Credit Agreement and any other DIP
Financing Document to secure all of the obligations and liabilities of the Company thereunder to
the Lenders and the Administrative Agent, and to authorize, execute, verify, file and/or deliver to
the Administrative Agent, on behalf of the Company, all agreements, documents and instruments
required by the Lenders in connection with the foregoing; and be it further

                RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to take all such further actions including, without limitation, to pay all fees and
expenses, in accordance with the terms of the DIP Credit Agreement and any other DIP Financing
Document, which shall, in such Authorized Officer’s sole judgment, be necessary, proper or
advisable to perform the Company’s obligations under or in connection with the DIP Credit
Agreement or any other DIP Financing Document and the transactions contemplated therein and
to carry out fully the intent of the foregoing resolutions; and be it further

               RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the DIP Credit Agreement and/or
any of the DIP Financing Documents which shall, in such Authorized Officer’s sole judgment, be
necessary, proper or advisable; and be it further
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IV.    Retention of Advisors

                RESOLVED, that, in connection with the Company’s Chapter 11 Case, any
Authorized Officer, in each case, acting singly or jointly, be, and each hereby is, authorized
empowered, and directed, with full power of delegation, in the name and on behalf of the
Company, to employ and retain all assistance in the name and on behalf of the Company, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
other professionals which such Authorized Officer deems necessary, appropriate, or desirable in
connection with such employment and retention of professionals set forth in this resolution, with
the view to the successful prosecution of the Chapter 11 Case (such acts to be conclusive evidence
that such Authorized Officer deemed the same to meet such standard); and be it further

              RESOLVED, that the firm of FTI Consulting, Inc., located at Three Times Square,
9th Floor, New York, NY 10036, is hereby retained as financial advisor for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the firm of Centerview Partners LLC, located at 31 West 52nd
Street, New York, NY 10019, is hereby retained as investment banker for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

             RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at One
Rodney Square, 920 North King Street, Wilmington, DE 19801, is hereby retained as attorneys for
the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that Prime Clerk LLC, located at 830 Third Avenue, New York, NY
10022, is hereby retained as claims, noticing and solicitation agent for the Company in the Chapter
11 Case, subject to Bankruptcy Court approval; and be it further

V.     General Authorization and Ratification

               RESOLVED, that any Authorized Officers, in each case acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to cause the Company to enter into, execute, deliver, certify, file and/or record, and
perform, such agreements, instruments, motions, affidavits, or rulings of governmental or
regulatory authorities, certificates, or other documents, and to take such other actions that in the
judgment of the Authorized Officer shall be or become necessary, proper, or desirable in
connection with the Chapter 11 Case; and be it further

               RESOLVED, that any and all past actions heretofore taken by any Authorized
Officer in the name and on behalf of the Company in furtherance of any or all of the preceding
               Case 18-12795-KG        Doc 1     Filed 12/12/18     Page 11 of 27



resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects; and be
it further

                RESOLVED, the secretary or assistant secretary of the Company is authorized to
place a copy of these resolutions in the official records of the Company to document the actions
set forth herein as actions taken by the Board; and be it further

VI.    Subsidiary Actions

               RESOLVED, that the Board hereby authorizes and instructs the governing bodies
of each of the Company’s subsidiaries to adopt substantially similar resolutions to the resolutions
set forth above; and be it further

               RESOLVED, that any Authorized Officer is hereby authorized and directed to
execute, on behalf of the Company in its capacity as member, shareholder, partner or equivalent
thereof of any subsidiary of the Company, any stockholder, shareholder, member, partner or
similar consent required or requested by any subsidiary of the Company to authorize it to take any
of the actions contemplated by the Restructuring Support Agreement, including the Plan and
Disclosure Statement or filing of the Chapter 11 Case.




                                     [Signature Page to Follow]
             Case 18-12795-KG            Doc 1        Filed 12/12/18        Page 12 of 27




             IN WITNESS WHEREOF, the undersigned, being all of the members of the B oard
of the Company have executed this unanimous written consent as of the date first set forth above.



                                                By:             :2--:::- -z
                                                         Thomas Y. Kuo



                                                          4�
                                                         Director

                                                By:                       u_/2---__
                                                        Yoshua A. Lutzker
                                                        Director

                                                By:
                                                         Gregory M. Delaney
                                                         Director

                                                By:
                                                         Tod Johnson
                                                         Director

                                                By:
                                                         Dr. Christos Cotsakos
                                                         Director

                                                By:
                                                         Brian P. Kelley
                                                         Director




               Signature Page lo Unanimous Written Consent of the Board of Direc/ors o/Calalina /vfarkeling
                                             Cmporalion
              Case 18-12795-KG           Doc 1     Filed 12/12/18       Page 13 of 27



             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                           Mm ninety
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




               Signature Page to Unanimous Written Consent of the Board of Directors of Catalina Marketing
                                            Corporation
            Case 18-12795-KG           Doc 1     Filed 12/12/18        Page 14 of 27




             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                       Thomas Y. Kuo
                                                       Director

                                               By:
                                                       Joshua A. Lutzker
                                                       Director

                                               By:
                                                       Gregory M. Delaney
                                                       Director

                                               By:
                                                       TodJo�
                                                       Director

                                               By:
                                                       Dr. Christos Cotsakos
                                                       Director

                                               By:
                                                       Brian P. Kelley
                                                       Director




               Signature Page to Unanimous Written Consent of the Board of Directors of Catalina Marketing
                                            Corporation
              Case 18-12795-KG           Doc 1     Filed 12/12/18       Page 15 of 27



             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




               Signature Page to Unanimous Written Consent of the Board of Directors of Catalina Marketing
                                            Corporation
              Case 18-12795-KG           Doc 1     Filed 12/12/18       Page 16 of 27



             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




               Signature Page to Unanimous Written Consent of the Board of Directors of Catalina Marketing
                                            Corporation
                                         Case 18-12795-KG                   Doc 1        Filed 12/12/18               Page 17 of 27



Fill in this information to identify the case:

Debtor name: Catalina Marketing Corporation
United States Bankruptcy Court for the District of Delaware
                                                            (State)
Case number (If known):

                                                                                                                                                              ☐ Check if this is an
                                                                                                                                                              amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                 12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.
     Name of creditor and complete mailing         Name, telephone number, and email        Nature of the         Indicate if    Amount of unsecured claim 
         address, including zip code                  address of creditor contact             claim (for           claim is      If the claim is fully unsecured, fill in only 
                                                                                           example, trade        contingent,     unsecured claim amount. If claim is partially 
                                                                                          debts, bank loans,    unliquidated,    secured, fill in total claim amount and deduction 
                                                                                            professional         or disputed     for value of collateral or setoff to calculate 
                                                                                            services, and                        unsecured claim. 
                                                                                            government 
                                                                                             contracts) 
                                                                                                                                     Total claim, if         Deduction       Unsecured  claim 
                                                                                                                                       partially            for  value of 
                                                                                                                                       secured              collateral or 
                                                                                                                                                               setoff 
1        Crescent Mezzanine Partners           Attn.:  Daniel Honeker                                                                                    
         Attn.:  Daniel Honeker                Phone:  (212) 364‐0200 
         1251 Avenue of the Americas           Email:  Daniel.Honeker@crescentcap.com        HoldCo Notes                                                                    $200,315,180.90 
         Suite 4700 
         New York, NY 10020  
2        NPS/Crescent Strategic Partnership    Attn.:  Daniel Honeker                                                                                    
         Attn.:  Daniel Honeker                Phone:  (212) 364‐0200 
         1251 Avenue of the Americas           Email:  Daniel.Honeker@crescentcap.com        HoldCo Notes                                                                    $85,133,951.90 
         Suite 4700 
         New York, NY 10020  
3        AlpInvest Partners Mezzanine Co‐      Attn.:  Cameron Fairall                                                                                   
         Investments                           Phone:  (212) 332‐6240 
         Attn.:  Cameron Fairall               Email:  cameron.fairall@alpinvest.com         HoldCo Notes                                                                    $50,078,795.20 
         630 Fifth Avenue 
         New York, NY 10111 
4        GoldPoint Mezzanine Partners          Attn.:  Thomas Haubenstricker                                                                             
         Attn.:  Thomas Haubenstricker         Phone:  (212) 576‐6500 
         51 Madison Avenue                     Email:                                        HoldCo Notes                                                                    $48,409,502.10 
         New York, NY 10010                    thaubenstricker@goldpointpartners.com 

5        Nielsen Catalina Solutions            Attn.:  Matt O’Grady                                                                                      
         Attn.:  Matt O’Grady                  Phone:  (513) 488‐8333 
         500 Fifth Avenue, 56th floor          Email:  NCSfinance@ncsolutions.com               Trade               Disputed                                                  $3,479,147.80 
         New York, NY 10110 

6        Epson America Inc.                    Attn.:  Antonia Legaspi                                                                                   
         Attn.:  Antonia Legaspi               Phone:  (800) 463‐7766 
         3840 Kilroy Airport Way               Email:  antonia.legaspi@ea.epson.com             Trade                                                                         $2,278,354.40 
         Long Beach, CA 90806 

7        4Info, Inc.                           Attn.:  Ed Koenig                                                                                         
         Attn.:  Ed Koenig                     Phone:  (650) 350‐4747 
         155 Bovet Road, Suite 200             Email:  ekoenig@4info.com                        Trade                                                                         $2,230,371.20 
         San Mateo, CA 94402 



Official Form 204                                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                           Page 1

 
WEIL:\96763511\8\34225.0004 
                                       Case 18-12795-KG                         Doc 1       Filed 12/12/18                 Page 18 of 27
 
Debtor              Catalina Marketing Corporation                                                                      Case number (if known)
                    Name
 
     Name of creditor and complete mailing             Name, telephone number, and email        Nature of the         Indicate if     Amount of unsecured claim 
         address, including zip code                      address of creditor contact             claim (for           claim is       If the claim is fully unsecured, fill in only 
                                                                                               example, trade        contingent,      unsecured claim amount. If claim is partially 
                                                                                              debts, bank loans,    unliquidated,     secured, fill in total claim amount and deduction 
                                                                                                professional         or disputed      for value of collateral or setoff to calculate 
                                                                                                services, and                         unsecured claim. 
                                                                                                government 
                                                                                                 contracts) 
                                                                                                                                          Total claim, if         Deduction       Unsecured  claim 
                                                                                                                                            partially            for  value of 
                                                                                                                                            secured              collateral or 
                                                                                                                                                                    setoff 
8        Bain & Company, Inc.                      Attn.: Sarah Solomon                                                                                       
         Attn.: Sarah Solomon                      Phone:  (617) 572‐2000 
                                                                                                 Professional 
         131 Dartmouth St                          Email:  sarah.solomon@bain.com                                        Disputed                                                  $1,800,000.00 
                                                                                                   Services 
         Boston, MA 02216 

9        Mindtree Limited                          Attn.:  Jayaprakash Nayak                                                                                  
         Attn.:  Jayaprakash Nayak                 Phone:  (201) 301‐5374 
         25 Independence Blvd., Suite 401          Email:                                           Trade                                                                          $1,000,287.30 
         Warren NJ 7059                            mailto:Jayaprakash.SN@mindtree.com 

10       Inmar DigItal Promotions Network, Inc.    Attn.:  Mark McClelland                                                                                    
         635 Vine Street                           Phone:  (800) 765‐1277 
         Attn.:  Mark McClelland                   Email:  mark.mcclelland@inmar.com                Trade                                                                           $917,345.00 
         Winston‐Salem, NC 27101 

11       CDW Direct                                Attn.:  Michael Fabianski                                                                                  
         Attn.:  Michael Fabianski                 Phone:  (813) 574‐5454 
         200 N Milwaukee Ave                       Email:  michfab@cdw.com                          Trade                                                                           $827,420.50 
         Vernon Hills, IL 60061 

12       Andy Heyman                               Address on File                                                                                            

                                                                                                  Severance                                                                         $680,770.00 


13       Presidio Networked Solutions LLC          Attn.:  Mike Deeb                                                                                          
         Attn.: Mike Deeb                          Phone:  (813) 416‐6916 
         12120 Sunset Hills Road, Suite 202        Email:  mdeeb@presidio.com                       Trade                                                                           $619,183.20 
         Reston, VA 20190 

14       Pomeroy IT Solutions Sales Company,       Attn.: David Halbig                                                                                        
         Inc. dba Getronics                        Phone:  (859) 586‐0600 
         Attn.:  David Halbig                      Email:  david.halbig@pomeroy.com                 Trade                                                                           $580,944.30 
         1020 Petersburg Road 
         Hebron, KY 41048 
15       Contec Americas, Inc.                     Attn.:  Brad Jens                                                                                          
         Attn.:  Brad Jens                         Phone:  (321) 821‐7059 
         1601 Cloverfield Blvd, #620S              Email:  brad.jens@dtx.com                        Trade                                                                           $541,615.50 
         Santa Monica, CA 90404 

16       Open Insights, LLC                        Attn.:  Lena Estatieh                                                                                      
         Attn.:  Lena Estatieh                     Phone:  (206) 256‐2029 
         P.O. Box 50507                            Email:  lena@open‐insights.com                   Trade                                                                           $530,206.90 
         Bellevue, WA 98015 

17       Beeswax IO Corporation                    Attn.:  Ari Paparo                                                                                         
         Attn.:  Ari Paparo                        Phone:  (917) 576‐1488 
         149 5th Avenue, Floor 3                   Email:  ari@beeswax.com                          Trade                                                                           $507,690.80 
         New York, NY 10010 

18       Todd Morris                               Address on File                                                                                            

                                                                                                  Severance                                                                         $499,359.00 


19       GlobalLogic, Inc                          Attn.:  Chidu Nachiappan                                                                                   
         Attn.:  Chidu Nachiappan                  Phone:  (425) 628‐9738 
         1741 Technology Drive, 4th Floor          Email:                                           Trade                                                                           $470,663.30 
         San Jose, CA 95110                        chidu.nachiappan@globallogic.com 




Official Form 204                                         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                            Page 2

 
WEIL:\96763511\8\34225.0004 
                                       Case 18-12795-KG                    Doc 1        Filed 12/12/18                 Page 19 of 27
 
Debtor               Catalina Marketing Corporation                                                                 Case number (if known)
                     Name
 
    Name of creditor and complete mailing          Name, telephone number, and email        Nature of the         Indicate if     Amount of unsecured claim 
        address, including zip code                   address of creditor contact             claim (for           claim is       If the claim is fully unsecured, fill in only 
                                                                                           example, trade        contingent,      unsecured claim amount. If claim is partially 
                                                                                          debts, bank loans,    unliquidated,     secured, fill in total claim amount and deduction 
                                                                                            professional         or disputed      for value of collateral or setoff to calculate 
                                                                                            services, and                         unsecured claim. 
                                                                                            government 
                                                                                             contracts) 
                                                                                                                                      Total claim, if         Deduction       Unsecured  claim 
                                                                                                                                        partially            for  value of 
                                                                                                                                        secured              collateral or 
                                                                                                                                                                setoff 
20      Gregory Mann                           Address on File                                                                                            

                                                                                              Severance                                                                         $432,692.30 


21      Partegra LLC                           Attn.:  Anthony Siracuse                                                                                   
        Attn.:  Anthony Siracuse               Phone:  (214) 644‐6123 
        321 E. Exchange Pkwy.                  Email:  asiracuse@partegra.com                   Trade                                                                           $391,435.00 
        Allen, TX 75002 

22      Ray Lewis                              Address on File                                                                                            

                                                                                              Severance                                                                         $369,230.80 


23      Ben Sprecer                            Address on File                                                                                            

                                                                                              Severance                                                                         $242,307.70 


24      Advanced Systems                       Attn.:  Tippi Leska                                                                                        
        Attn.:  Tippi Leska                    Phone:  (727) 539‐8054 
        15373 Roosevelt Blvd., Suite 200       Email:  tippi.leska@advsys.us                    Trade                                                                           $240,648.30 
        Clearwater, FL 33760 

25      Trintas, LLC.                          Attn.:  Anthony  Siracuse                                                                                  
        Attn.:  Anthony  Siracuse              Phone:  (214)644‐6123 
        321 E. Exchange Pkwy.                  Email:  asiracuse@trintas.com                    Trade                                                                           $240,528.70 
        Allen, TX 75002 

26      Genpact International Inc.             Attn.:  Bhava Kompala                                                                                      
        Attn.:  Bhava Kompala                  Phone:  (847) 668‐6749 
                                                                                             Professional 
        1000 Hawkins Blvd., Suite A            Email:  Bhava.Kompala@genpact.com                                                                                                $211,270.50 
                                                                                               Services 
        El Paso, TX 79915 

27      Celtra, Inc.                           Attn.:  Mark Dorman                                                                                        
        Attn.:  Mark Dorman                    Phone:  (617) 401‐2262 
        545 Boylston Street, 11th Floor        Email:  Mark.dorman@celtra.com                   Trade                                                                           $154,811.00 
        Boston, MA 02116 

28      United Parcel Service                  Attn.:  Trevor Grech                                                                                       
        Attn.:  Trevor Grech                   Phone:  (941) 686‐6203 
        P.O. Box 7247‐0244                     Email:  tgrech@ups.com                           Trade                                                                           $151,201.80 
        Philadelphia, PA 19170 

29      Veredus Corp                           Attn.:  Andy Stenler                                                                                       
        Attn.:  Andy Stenler                   Phone:  (813) 293‐9360 
        4300 West Cypress Street, Suite 900    Email:  Andy.Stenler@hays.com                    Trade                                                                           $147,457.50 
        Tampa, FL 33607 

30      Mark Davies                            Address on File                                                                                            

                                                                                              Severance                                                                         $136,950.50 


 




Official Form 204                                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                            Page 3

 
WEIL:\96763511\8\34225.0004 
                           Case 18-12795-KG                 Doc 1         Filed 12/12/18              Page 20 of 27



Fill in this information to identify the case:

Debtor name: Catalina Marketing Corporation
United States Bankruptcy Court for the District of Delaware
                                                    (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
        ☐      Other document that requires a declaration
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on December 12, 2018
                                                      /s/ Shelly Schaffer
                      MM /DD /YYYY                     Signature of individual signing on behalf of debtor

                                                       Shelly Schaffer
                                                       Printed name

                                                       Executive Vice President & Chief Financial Officer
                                                       Position or relationship to debtor

 
 




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

WEIL:\96763511\7\34225.0004 
                             Case 18-12795-KG                  Doc 1   Filed 12/12/18   Page 21 of 27
 



                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :                 Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :                 Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :                 Joint Administration Requested
                                                             :
------------------------------------------------------------ X

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
PURSUANT TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, annexed hereto as Exhibit A is an organizational chart reflecting all of the ownership

interests in Checkout Holding Corp. (“CHC”) and its affiliated debtors in the above-captioned

chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”).                           The

Debtors respectfully represent as follows:

                                1.             PDM Group Holdings Corporation, which is the ultimate parent

    company of CHC, owns 100% of the common stock of PDM Intermediate Holdings A

    Corporation (“Holdings A”).

                                2.             Holdings A has a 100% ownership of the common stock of PDM

    Intermediate Holdings B Corporation (“Holdings B”).

                                3.             Holdings B owns 100% of the common stock of PDM Holdings

    Corporation (“PDM Holdings”).
                                                            
1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716. 



 
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                    Case 18-12795-KG          Doc 1        Filed 12/12/18   Page 22 of 27
 



                      4.       CHC is a wholly owned subsidiary of PDM Holdings and CHC owns

    100% of the common stock of Catalina Marketing Corporation (“CMC”).

                      5.       Each of the following Debtors are wholly owned subsidiaries of CMC:

                               a.     Catalina Marketing Procurement, LLC;

                               b.     Catalina Marketing Technology Solutions, Inc.;

                               c.     Catalina Marketing Worldwide, LLC;

                               d.     Cellfire Inc.; and

                               e.     Modiv Media, Inc.

                      6.       An organizational chart that illustrates the Debtors’ corporate

    structure is attached as Exhibit A.




                                                       2
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Case 18-12795-KG    Doc 1    Filed 12/12/18   Page 23 of 27



                        Exhibit A

                   Organizational Chart 
                                                                                                                                                                                                          Legend
                                                                                                                    PDM Group
                                                                                                                Holdings Corporation                                                 Non-Debtor                      Debtor




                                                                                                                 PDM Intermediate                                                    JV Partner
                                                                                                               Holdings A Corporation



                                                                                                                 PDM Intermediate
                                                                                                               Holdings B Corporation




                                                                                                                       PDM
                                                                                                                Holdings Corporation




                                                                                                             Checkout Holding Corp.
                                                                                                                                                                                                                                                                                           Case 18-12795-KG




The Nielsen Company                                                                                              Catalina Marketing
      (US), LLC                                                                                                     Corporation




      63.5%
                                                                                                                                                                                                                                                                                           Doc 1




                      36.5%




                                 Cellfire Inc.                       Catalina Marketing   Catalina Electronic Clearing             Catalina Marketing      Catalina Digital           Catalina Marketing           Catalina Marketing                                       Supermarkets Online
              NC Ventures, LLC                   Modiv Media, Inc.   Procurement, LLC            Services, Inc.                   Loyalty Holdings Inc.    Holdings, LLC           Technology Solutions, Inc.       Worldwide, LLC                                             Holdings, Inc.
                                                                                                                                                                                                                                                               1%
                                                                                                                         20%
                                                                                                                               80%                                                                                                                     99%



                                                                                                                                                              Catalina Marketing                                   Catalina Marketing
                                                                                                                                                                                       Catalina Marketing                                          CM International C.V.   Supermarkets Online,
                                                                                                             Catalina-Pacific Media, LLC                         Italia, S.R.L.                                    Costa Rica, S.R.L.
                                                                                                                                                                                                                                                                                           Filed 12/12/18




                                                                                                                                                                                       Deutschland GmbH                                                                           Inc.




                                                                                               Catalina Marketing                                                                                                             Catalina Marketing
                                                                                                                                 CMJ Investments, L.L.C.                                                                        Bermuda Ltd.
                                                                                                  Japan K.K.




                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                                                     Coöperatief U.A.
                                                                                                                                                                                                                                                                                           Page 24 of 27




                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                                                    International B.V.




                                                                                                                                                                                                                   Catalina Marketing                                       Catalina Marketing
                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                     France, S.A.S.                                        (Shanghai) Co., Ltd.
                                                                                                                                                                                                                                                       U.K. Limited




                                                                                                                                                                                                                                                     Savings4Me, Ltd
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Fill in this information to identify the case:

Debtor name: Catalina Marketing Corporation
United States Bankruptcy Court for the District of Delaware
                                                    (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
        ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
              Other document that requires a declaration Consolidated Corporate Ownership Statement
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on December 12, 2018
                                                       /s/ Shelly Schaffer
                      MM /DD /YYYY                      Signature of individual signing on behalf of debtor

                                                        Shelly Schaffer
                                                        Printed name

                                                        Executive Vice President & Chief Financial Officer
                                                        Position or relationship to debtor

 
 




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors

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                             Case 18-12795-KG                       Doc 1       Filed 12/12/18        Page 26 of 27
 



                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :                                 Chapter 11
                                                             :
CATALINA MARKETING CORPORATION :                                                               Case No. 18– ________ ( )
                                                             :
                           Debtor.                           :
------------------------------------------------------------ x

                                                               LIST OF EQUITY HOLDERS1

                             Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

     Name and Last Known Address or Place of                                               Kind/Class of         Number of
               Business of Holder                                                            Interest          Interests Held

                        Checkout Holding Corp.
                          200 Carillon Parkway                                            Common Stock             100%
                      St. Petersburg, Florida 33716




                                                            
1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case. 

                                                                      List of Equity Holders
 
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                           Case 18-12795-KG                 Doc 1          Filed 12/12/18              Page 27 of 27
 



Fill in this information to identify the case:

Debtor name: Catalina Marketing Corporation
United States Bankruptcy Court for the District of Delaware
                                                    (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


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submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
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the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

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§§ 152, 1341, 1519, and 3571.


               Declaration and signature



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        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
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        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
        ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
              Other document that requires a declaration List of Equity Holders
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on December 12, 2018
                                                       /s/ Shelly Schaffer
                      MM /DD /YYYY                      Signature of individual signing on behalf of debtor

                                                        Shelly Schaffer
                                                        Printed name

                                                        Executive Vice President & Chief Financial Officer
                                                        Position or relationship to debtor

 




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
 
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